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                        RECORD

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The Honorable Rebecca Pallmeyer
Everett McKinley Dirksen
United States Courthouse
219 South Dearborn Street
Chambers 2146
Chicago, IL 60604

                                                                  March 19, 2018


       Re:    Letter from Winston & Strawn Regarding Austrian Extradition
              Proceedings Related to United States v. Firtash, No. 13 CR 515

Dear Judge Pallmeyer:

        I write as counsel for Andras Knopp in connection with the update that you
have received in connection with Mr. Firtash’s extradition case. While the
extradition issues do not relate directly to Mr. Knopp, they do concern him in that he
has a significant personal interest in the timely resolution of this case.

       Mr. Knopp will be 80 years old this September. In the last several years he
has battled bladder cancer and suffers from a variety of age related illnesses. He is
currently living and working in Moscow. His closest family consists of a son and
granddaughter who both reside in Budapest and another granddaughter who
resides in London. He is extremely close with both granddaughters as he raised
them after their mother, his daughter, passed away from cancer when they were
very young.

        In the government response to Mr. Firtash and Mr. Knopp’s Motion to
Dismiss the Indictment in this case for lack of jurisdiction and venue, the
government minimized Mr. Knopp’s interest in the resolution of the case and argued
that the only effect he suffered was not being able to travel at a “whim.”
(“Apparently the only inconvenience Knopp suffers is that he feels that he is not able to
travel at his whim to other countries.” Government Response p. 20) That is not
accurate. Mr. Knopp is not concerned about leisure travel. He is, however, very
much concerned about not being able to travel to Budapest and to London. He is at
the age that it is critical for him to be close to his family. In addition, most of his
closest friends are in Budapest and two homes there house the majority of his
possessions.

       Mr. Knopp is not a fugitive from the United States. He has no business or
personal interests in this country and was not in the United States at the time the
Indictment was unsealed. However, while the case is pending, he does not believe
that he would be able to achieve safe passage home to Hungary or to London. For
that reason, he is anxious for the resolution of his criminal case.

        Mr. Knopp filed his jurisdictional and venue motion cooperatively with Mr.
Firtash and he does not now wish to separate himself from Mr. Firtash in the
proceedings before this Court. However, to the extent that the developments in
Austria, including a decision from the Court of Justice of the European Union being
expected in the near term resolving one of the main obstacles to Mr. Firtash’s
extradition, he is hopeful that there might be progress in the case that might hasten
his ability to return home.


Sincerely,



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